

People v Ojo (2020 NY Slip Op 04111)





People v Ojo


2020 NY Slip Op 04111


Decided on July 17, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 17, 2020

PRESENT: CENTRA, J.P., PERADOTTO, LINDLEY, TROUTMAN, AND BANNISTER, JJ. (Filed July 17, 2020.) 


MOTION NO. (1011/07) KA 06-00940.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vEDUNDABIRA O. OJO, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








